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                          EXHIBIT 51
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                         PRIVATE INVESTIGATIVE
                             ASS     ES LC         '!le   er ....._.


                                                                (914) 202~ 8819
                                                   1333A North Ave suite 7.30
                                               New Rochelle, New York 10804
                                        ~      -1"1:Y.~                ~ t i ~.


                                            CLIENT RETAIN'EE,

         Date: December 29, 2014

        .Client:
        Robins, Kaplan, Miller & Ciresi LLP
         Craig Weiner-Pa1tner
        601 Lexington A venue Suite 3400
        New York, New York 10022




        lvtr. Weiner,

        Thank you for selecting Private Investigative Assodates LLC, •from..herein.refered to as "PJ.A
        LLC".
        I11is letter constitutes our agreement to provide you with investigative services to assist Robins,
        Kaplan, Miller & Ciresi LLP, from. herein referred to as the ''Client", in its repres:e.nt.ation. of Ctlrtis
        J, Jackson In, collectively the ''C.'lient's die11t''.

        The scope of our service.s, (the "Engagement") shall in.dude:
            • Locate and interv1ew Mr. Maurice :Munay. Obtain any st.atemenrs.
            •   Assist in the forth.eran<:..-e of this matter as directed by Mr. Weine:c

        Based on the aforementioned ouli:ne ofinvestigative techniques/proposal, Private Investigative
        Associates LLC is requesting a $7.50().00 retainer, which v-v-ill be billed against at an hourly rate of
        $105.()(Jper man-hour,. plus expeuses. Expenses ,vill indude all computer searches, any and aU ttavel
        expenses.




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       Privare Investigative Associates LLC acknowledges that the purpose of theEngagment is to c.mable
       Client to re.nder legal advice to thjer client and prepare matt'rials in connection with the above
       referenced litigation. Therefore, P.LA LLC's communication with the Clieut, P .lA. LLC's work
       product, and all infonnation and data received from the Client, are covered by tbe work product,. as
       well a:s other applicable privile,ges. Accordingly,·p_{.A. LLC will maintain as e;onfideutial all
       intbnnationand data it receives from the Client and will not disclose such information and data (the
       "Confidential information"} to any third party without the Clients prior Vlritten. consent, unless
       required to do so by law .

                       . much and I lookforward to working with you io bringing this ma:tter to a close.



                                                               ~ •.-~
                                                    Craig.Weiner                         dat~ /'~/9>o/~z/
                                                                                          '

       President                                    Robins, Kaplan, Miller & Ciresi LLP

       Private tnvestigative Associates LLC.




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              Private Investigative Associates lLC
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        ,,, New Roehelle, NV 10804                                                                                                  New York New York 10~,.::.:Zc:: 2_______
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   entitles, tt is your emplo)rer identification number (ElN). If you do not have a number, i.ee How to get a
   TtN on \Pil9~ 3.
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   guldalne;; 011 whose number to enter.


                       C-ertmeation
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                                                                                           Cnlg Weinef'
                                                                                         CWti11e~@rkmc.c-
                                                                                           212-980-7-404




           December 30, 2014

                                                                                  VIA E-MAIL

           Curtis J. Jackson m
           c/o Nikki Martin
           264 West 40th Street-15th Floor
           New York, NY 10018

                    Re:    Support on Leviston Tria]

           Dear Mr. Jackson:

           This Agreement sets forth the terms and conditions under which the law firm of
           Robins, Kaplan, Miller & Ciresi, L.LP. ("we", "us" or "our") will provide to you
           certain legal services.

          Scope of Representation. We very much appreciate your asking us to act as
          counsel for you in connection with the following matters: providing advice with
          respect to the trial in the matter:         vi to .v.              II Index No.
          102449/10, Supreme Court of the State of New York, New York County.

          We shal1 assist tria.l counsel (Reed Smith} as you sha11 so request. We shall not
          make an appearance in the case. In addition, you have requested and we shall
          engage the services of Paul Puccini (licensed private investigator) on your behalf.
          You have authorized us to make a retainer payment to Mr. Puccini of $7,500.

          The scope of our engagement and duties to you shall relate solely to the matters
          described herein except as set forth in other engagement Jetters by and behveen
          you and RKMC. You have not hired us to act as your attorney in connection with
          any other matter. We only represent you in the matters encompassed by this
          Agreement, and we have not undertaken and have no duty to represent any other
          person or entity, nor fa represent you in any matters other than as described in
          this Agreement. You may limit or expand the scope of our representation from




          ATLANTA         HOSTON       LOS ANGELES       MINNEAPOI.IS    NAPLES       NEWYORK




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          time to time, but any substantial expansion of our instructions must be agreed to
          byus.

           Means of Representation. The Partner responsible for this Matter is Craig
          Weiner who may be assisted by other attorneys in the firm, as well as our internal
          Financial Consu1tants and investigators.. We understand that we may receive
          instructions from you through specifically designated representatives (including
          Steve          Esq. and Nikki Martin) whom            will identify. Unless otherwise
          instructed, we will communicate with you either by telephone, mail, facsimile
          transmission, email, or courier, as the occasion requjres and as the need for
          confidentiality permits. To assist us in providing the most effective represe:ntation
          to you, it is essentia.l that you retain aH information, documents, records, data, or
          other materials relating to the requested representation until such time as we have
          consulted With you concerning fhe handling           such materials. In addition, if
          following our retention, you become aware of any information or locate or come
          in to possession of any materials relating to the representation, you must promptly
          inform us.

          Tenn of Engagement. Either of us may terminate the engagement at any time for
          any reason by written notice, subject on our part to applicable rules of professional
          responsibility.

          You have the right to end our agreement and take us off the case at any time, bul if
          you do so, you may, however, still owe us l!loney for time and expenses that we
          have spen t on the case but for which we have not yet biJled you.

          In the event that the engagement is terminated, we will take such steps as are
          reasonably practicable to protect your interests in the above matter. ff permission
          for our withdrawal is required by a court, we will promptly apply for such
          permission, and you agree to engage su.ccessor counsel to represent you.

         Unless previously terminated, our representation of you will terminate upon our
         sending you a final statement for services rendered (unless we have been retained
         by you on another matter that is stil1 ongoing). Both before and after such
         termination, any otherwise non-public information that you have supplied to us
         that is retained by us wi.11 he kept co.nfidential in accordance w ith applicable rules
         of professional responsibility. If, upon such termination, you wish to have any
         documents delivered back lo you, please let us know. Otherwise, all such
         documents will be transferred to the person responsible for admLnistering our




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           records retention program. For various reasons, including the miriimizatio.n of
           u.nnecessary storage expenses, we reserve the right to .destroy or otherwise
           dispose of any such documents retained by us in accordance with our record
           retention and destruction policy.

           Fees and Expenses. Our fees wm be based on the billing rate for each attorney
           and legal ass.i stant devoting time to this matter. As a general matter, effective our
           billing rates for this matter shall be discounted and billed as follows: Partners
           range from $625 to $895; attorneys who are Of Counsel and Principals range from
           $575 to $695; attorneys who are Associates range from $330 to. $575. Our legal
           assistants' current hourly billing rates range from $250 to $295. Mr. Weiner sha.Il
           provide you with a discounted.rate of $675/hr (normally $775/hr).

           These billing rates arc subject to change from time to ti.me, and we wiJl notify you
           in advance of any change in our billing rates.

          We are committed to our policy of ensuring the reasonableness of the level of
          expenses incurred on behalf of our clients.. Our policy is to charge expenses a nd
          d isbursements at our actual cost; thus, specific charges discussed in this letter wj]l
          be adjusted upward or downward to reflect changes in the charges of third party
          service providers and vendors. Similarly, items not specifically listed herein will
          be billed at cost. It is difficult for us to accurately predict the amount and type of
          expenses we will have to pay to handle the matters encompassed by this
          Agreement. While we wiU endeavor to minimize expenses and to incur onJy such
          expenses as are reasonably necessary, you acknowledge that in matters of the
          nature encompassed by this Agreement, the expenses can be, and often. are,
          substantial. These expenses include, but are not limited to, the. following: court
          filing fees; local counsel attorney fees and expenses; court reporter fees and
          expenses for depositions, including video dcpositi011s, hearings, triaJ and
          otherwise; traveling and lodging expenses, including, airfare, car rental, parking,
          hotels, and food; consultant fees and expenses; expert witness fees and expensesi
          translator and translation fees and expenses, spec:iaf master fees and expenses;
          computer service fees; charges for telepho11e, postage a.nd photocopying; charges
          for business records;. expenses incurred in the production, copy1.ng, and
          management of documents, including computer storage of documents; and,
          charges for the preparation of trial exhibits, including video animation and
          computer related exhibits.




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          We anticipate bi1ling you monthly and you agree to pay our.bills within 30 days
          after receipl:   our invoice. With       bill we      provide to        detailed
          information regarding the work covered by the bill. We reserve the right to
          charge interest on amounts which are overdue for more than one month. Interest
          will be calculated at an annual rate equivalent to the rate for the time being
          applied to judgment debts.

          Your obligation to pay our fees and expenses is without .regard to the success or
          other outcome of the matter that we are handling for you, and without regard to
          any agreement that you may have with any third         for the reimbursement of
          our fees.

          Retainer. You. have agreed to provide us with an initial retainer i:~1 the a:tnount oJ
          $10,000 before we begin this representation. Each month we       w-mdeduct from that
          retainer amount the charges for services rendered that month, tog0ther with the
          amounts of the disbursements that we have made on your behalf. At our sole
          option, we may bi11 you for an amount that will restore the retainer to its original
          amount, and          agree to pay such amount. We will return to you any unused
          portion of the retainer upon our completion of the services to be rendered in this
          matter, or, if earlier, the termination of our engagement as counsel in this matter.
          Conflicts. As you know, we are a large law firm with numerous clients. Many of
          these clients rely upon the firm for general representation and, in the normal
          course of their business, to assert daims against other parties. To our knowledge,
          the firm does not currently represent any cUent with respect to matters directly
          adverse to you. Although we hope it never happens,          possible that an adverse
          relationship may develop in the future between you and one of our other cUents.

          You .h ave retained us to provide legal services limited to this Matter, As you are
          aware, we have a diverse practice that includes representation of many other
          companies and individuals in many areas. Because of the sjze and diversity of our
          practice and the size        diversify of your operations, it is possible      some of
          our present or future clients will have disputes or other dealings with you in areas
          unrelated. to the matters for which you have retained us. In light of your present
          intention to utilizt> our services onJy in this Matter, you agree as a condition of our
          providing such services that w~ may continue to represent, or may undertake in
          the future to represent, existing or new clients jn any matter,. includ ing litigation,
          in areas of the law other than those for whi ·h we are representing you, even if the
          interests of such clients in those other matters are directly adverse to those of




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          yours. (You should know that in similar engagement Jetters with other clients,we
          liave asked for similar agreements to p reserve our ability to represent you.)
          Where ethic:all y permissible to do so, we agree to notify you of each sue h
          representation as it arises. We agree, however, that your prospective consent to
          confbcting representations shall not apply in any instance where as the result of
          our representation of you, we have obtained sensitive, proprietary or other
          confidential information of a non-public nature that, if known to another dient of
          ours, could be used to the material disadvantage of you in a matter in which we
          represent, or in the future are asked to undertake representation of, that client.
          Moreover, for any reason you decide to terminate this engagement, you agree
          that we may continue to      for such other client.

          You further ilgree that we, during the course of our vepresetitation of you,. we will
          not be given any confidential information regarding any matters unrelated to the
          matters in which we are representing you. Accordingly, our representation of you
          will not in and of itself give rise to any conflict of interest in the event that other of
          our clients is adverse to you.

         Disputes. We are required to advise you about your right to arbitrate any dispute
         that may arise between you and us, under Part 137 of the Rules of the Chief
         Administrator of the Courts. of the State of New York. This set forth iJJ Exhibit A
         to this letter. Unless you expressly agree otherwise you cannot be required to
         agree     arbitrate a fee dispute in an arbitraLforum outside Part 137. The text of
         Part 137, referred to in Exhibit A, is lengthy bul we would be pleased to furnish
         you a copy if youso request.

         What This Agreement Covers. This Agreement states the entire agreement
         between you and us and takes the pl~ce of any prior oral or written agreements.
         This Agreement is entered into within the State of New York and           to be
         interpreted in accordance withthe laws of the State of New York. The terms of
         this Agreement may only be changed by a separate written agreement signed and
         dated by you and Robins., Kap1an, Miller& Ciresi L.L.P.

         Disclosure of Insurance Information. Consistent with or as may be required by
         certain states' rules of ethics or for members of the bar, Robins, Kaplan, Miller &
         Ciresi L. L.P. hereby confirms th~1t it has Professional Liability insurance coverage
         which applies to and covers the legal services to be nmde.red to you pursuant to
         this Agreement Like most law farms, we reserve the right to disdose to our




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          professional indemnity insurers or advisers .any information that they reasonably
          require.


                 ~
                ~_A_
          Craig Weiner
                                                      Date:   _/ol_/$>._(c---"-·~-fJl..,___Y_ _
          Robins, KapJa.n, Mil]er & Ciresi L.L.P.


          l have read, understand, and agree to the terrns of this agreement


                                                      Date:
                                                              - ------------




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                                                              EXHIBIT A

                                       STANDARD WRITTEN INSTRUCTIONS AND PROCEDURES
                                           TO CLIENTS FOR THE RESOLUTION OF FEE DISPUTES
                                                                              PURSUANT
                                                    TO PART 137 OF THE RULES OF THE CHIEF
                                                               ADMINISTRATOR

        Parl 137 of the Rules of the Chief Administrator of the Courts provides a procedt1re for lhe arbitration
        (and in some cases mediation) of foe disputes between attorneys and clients in civil matltm;. Your
        attorney can provide you with a copy of Part 137 upon request or you can download a copy at
        www.nycourts.gov/adrnin/feedispute. Fee disputes may involve bol.h foes that you hi-Ive already pa.id to
        your allorney and fees that your attorney claims arc owed by you. If you elect to resolve your dispute by
        arbitration, your attorney is required to participate. Furthermore, the arbitration will be final and binding
        on both your attorney and you, unless either of you seeks a trial de novo within 30 days, which means
        either of you r,ject the arbitra.lor's decision by commencing an action on the merils of the fee dispute in a
        court of law within 30 days afte.r the arhitrntor's decision has been mailed. Fee di8putes which may not
        be resolved under this procedure arc described in Part 137.l of the Rules of Chief Administrator of the
        Courts: representation in criminal matters; amounts in dispute involving a !'lum of less than $1000 or more
        than $50,000 unless the parties mnsent; and daims involving substanlia.l legal questions, including
        professional malpractice or misconduct. Please consult Part 137.1 for additional exclusions.

        Your attorney may nol brinp, an action in court to obtain pnyment of a ft>e unless he or she first has
        provided written notice lo you of your right to elect lo resolve the dispute by arbitration under Part 137.
        If your attocney provides you wilb this notke, he or she must provide you with u copy of the wriUen
        instructions and procedutes of the approved foe.al bar association-sponsored fee dispute resolution
        program ("Local Program") having jurisdiction over your dispute. Your attorney mus! filso provide you
        with the "Re<1uesl for Fee Arbitration" form and advise that you musl file lhf! Reque111f for Fee Arbitration
        with the local program within 30 days of the receipt of the notice. If you do not file the Request within
        those 30 days, you will not be permitted to compel your altomey to resolve the dispute by arbitralion,
        and your attorney will be free to bring a lawsuit in court to seek to obtain payment of the foe.

        Jn ord(~r lo elect to resolve a fee dispute by arbitration, you musl file the attached "Request for Fee
        Arbitration" with the approv(~d local program. An updated list of local programs is available at
        www.nycourts.ge,v/admin/feedispule or by calling (212) 428-2862. Filing of the Request for Fee
        Arbitration must be made with the appropriate local program for the c:ounly in which the majority of
        legal services were performed. Once you file the Request for Fee Arbitration, the loc,al program will mail
        a copy of lhe request to your attorney, who musl provide a response within 15 days of the mailillg, You
        will receive at least 15 days notice in writing of the time and place of the hearing and of the identity of the
        arbitrator(s). The arbitretor(s) decision will be issued no lalt~r lhan 30 days after the date of the hearing.
        You may represent yourself al the hearing. or you may appear with an attorney if you wish.

       Some local programs may offer mediation services in addition to arbitration. Mediation is a process by
       which those who have a fee dispute meet with the assistance of a !rained mediator to clarify issues and
       explore options for a mutually acceptable resolution. Mediation provides the opportunity for your
       attorney and you lo discuss your concerns without relinquishing control over the outcome and of
       achieving a result satisfactory t<, holh of you. Participation u1 mediicltion is voluntary for your atlorney
       and you, and it does not waive any of your rights lo arbitration under these rules. If you wish lo attempt
       lo resolve your dispute through mediation, you may indicate your wish on the Requesl for Fee
       Arbitration form.

                              More information, including an updated list of local programs, is available al:
                                http://www.nycourts.gov/ admh1/f""'dispute or by calling (212) 428-2862,

       75560444.l




CONFIDENTIAL- SUBJECT TO                                                                                                        045285
PROTECTIVE ORDER
